




Affirmed and Memorandum Opinion filed July 2, 2009








Affirmed
and Memorandum Opinion filed July 2, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00035-CR

&nbsp;

____________

&nbsp;

ROMEO JOHNSON,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 252nd District
Court

Jefferson County, Texas

Trial Court Cause No. 08-03709

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N








Appellant
entered a guilty plea to unauthorized use of a motor vehicle.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
deferred adjudication of guilt, placed appellant on community supervision for
three years and assessed a $500.00 fine.&nbsp; Subsequently, the State moved to
adjudicate guilt.&nbsp; Appellant pled true to multiple allegations that he violated
the conditions of his community supervision.&nbsp; The trial court adjudicated guilt
and sentenced appellant to confinement for two years in the State Jail Division
of the Texas Department of Criminal Justice.&nbsp; Appellant filed a timely notice
of appeal.

Appellant=s appointed counsel filed a brief in
which he concludes this appeal is wholly frivolous and without merit.&nbsp; The
brief meets the requirements of Anders v. California, 386 U.S. 738, 87
S.Ct. 1396 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807, 811-12 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review.&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex.
Crim. App. 2005).

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce.

Do Not Publish C Tex. R. App. P.
47.2(b).





